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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION


                                                                 MDL No. 2:18-mn-2873-RMG
 IN RE: AQUEOUS FILM-FORMING FOAMS
                                                                 This Document relates to:
 PRODUCTS LIABILITY LITIGATION
                                                                 ALL CASES


    CONSENT MOTION TO EXTEND THE BRIEFING SCHEDULE TO FILE THE
       PLAINTIFFS’ EXECUTIVE COMMITTEE’S MOTION TO COMPEL

       Pursuant to Local Civil Rule 6.01, the parties move by consent for a second extension of

time for the Plaintiffs’ Executive Committee (“PEC”) to file a renewed Motion to Compel the

Production of Documents from Defendants E. I. du Pont de Nemours and Company, The

Chemours Company and The Chemours Company FC, LLC (“Defendants”), pursuant to this

Court’s Order on Defendants’ Motion for Reconsideration (the “Order,” ECF 2844).

       On April 4, 2023, this Court extended the time given to the PEC to file a motion to compel

to April 17, 2023, on joint motion of the parties (the “Joint Motion”). ECF 2944. As explained in

the Joint Motion, Defendants have agreed to produce additional documents, which will narrow the

dispute over remaining documents. ECF 2936. The parties are continuing to meet and confer in an

effort to narrow or resolve their outstanding disputes without Court intervention. The parties

believe that an additional two-week extension until May 1, 2023 of the PEC’s deadline to file a

motion to compel will enable the parties to complete the meet and confer process.

       The extension would not affect the deadlines for any other parties or claims in this

litigation. The pending productions relate to Plaintiffs’ fraudulent transfer claims against these

Defendants. The Court has entered the Stipulation Regarding Fraudulent Transfer Claims

Deadlines setting out a separate discovery deadline governing Plaintiffs’ fraudulent transfer



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claims. See CMO 23. The parties previously agreed that they would seek an extension of the

discovery deadlines after the PEC’s Motion to Compel was decided, see ECF 2329, in a motion

that this Court granted by text order, ECF 2353. The PEC’s Motion to Compel was decided by an

order of this Court dated December 1, 2022, which was modified by the Order. The extension

would not affect any other deadlines in this litigation. See CMO 23 at ¶ 2.

        For the reasons set forth above, the parties respectfully move the Court for a brief

extension of time from April 17, 2023 until May 1, 2023, for the PEC to file a motion to compel,

if necessary, after the parties complete the meet and confer process. Counsel for Defendants have

consented and authorized counsel for Plaintiffs to include counsel for Defendants’ electronic

signature on this consent motion.

Dated: April 17, 2023                 Respectfully Submitted,

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                                     CERTIFICATE OF SERVICE
        I hereby certify that on April 17, 2023, I electronically filed the foregoing document with the Clerk

of Court using the CM/ECF system which will send notification of such filing to all attorneys of record.

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